                       UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                             3:18-cr-230-MOC-DSC

 UNITED STATES OF AMERICA,                  )
                                            )
                                            )
 vs.                                        )                          ORDER
                                            )
 MARYSA RENEE COMER,                        )
                                            )
                Defendant.                  )
                                            )



       THIS MATTER is before the Court on Defendant’s Unopposed Motion to

Continue Hearing. (#50). Having considered the matter and reviewed the pleadings, the

Court enters the following Order.

                                         ORDER

       IT IS, THEREFORE, ORDERED that Defendant’s Unopposed Motion to

Continue Hearing (#50) is GRANTED, and the Clerk of Court is instructed to continue

this matter to the next appropriate sentencing term.


                                                Signed: July 8, 2022




       Case 3:18-cr-00230-MOC-DSC Document 51 Filed 07/08/22 Page 1 of 1
